     Case 1:20-cr-00019-CRB-BAM Document 55 Filed 04/22/20 Page 1 of 2


 1   John Kemper Jackson (#172544)
     Law Offices of John K. Jackson
 2   900 West Main Street
     Visalia, CA 93291
 3
     Telephone: 559.713.1000
 4   Facsimile: 559-713.1422
 5   Attorney for Defendant
     Adrian Arredondo Alvarado
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                      Case No. 1:20-CR-00019 DAD - BAM
11
                         Plaintiff,                 STIPULATION TO MODIFY TERM OF
12                                                  PRETRIAL RELEASE; ORDER
     vs.
13                                                  JUDGE: Hon. Barbara A. McAuliffe
     ADRIAN ARREDONDO
14   ALVARADO, ET.AL.,
15                       Defendants.
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, that pretrial release condition (7)(m) relating to Mr. Alvarado’s Home
19   Detention be modified to read as follows:
20          CURFEW: You are restricted to your residence every day from 9:00 p.m. to 6:00 a.m.,
21   or as adjusted by the Pretrial Service office for medical, religious services, employment or court-
22   ordered obligations. All other conditions remain in full force and effect.
23          To date, Pretrial Services Officer Frank Guerrero reports Mr. Alvarado has been
24   compliant with all his release conditions, this curfew would allow Mr. Alvarado more flexibility
25   to better meet his ability to find work to support his family.
26          As to Alma Arredondo, by her signature, agrees to the new release conditions, and

27   acknowledges that in no way does it change her responsibilities and the government’s ability to

28   forfeit the bond should the defendant violate the release conditions.
     Case 1:20-cr-00019-CRB-BAM Document 55 Filed 04/22/20 Page 2 of 2


 1            All other conditions remain in full force and effect.
 2
 3                                                           Respectfully submitted,
 4                                                           McGregor W. Scott
                                                             United States Attorney
 5
 6   DATED: April 20, 2020                                   /s/ Kathleen A. Servatius
                                                             KATHLEEN A. SERVATIUS
 7                                                           Assistant United States Attorney
                                                             Attorney for Plaintiff
 8
 9
                                                             Law Offices of John K. Jackson
10
     DATED: April 20, 2020                                   /s/ John K. Jackson
11                                                           JOHN K. JACKSON
                                                             Attorney for Defendant
12                                                           Adrian Arredondo Alvarado
13
14
     DATED: April 20, 2020
15                                                           ALMA ARREDONDO
16
                                                  ORDER
17
              IT IS SO ORDERED that pretrial release condition 7(m) be modified so the location
18
     monitoring component of supervision be as follows:
19
              CURFEW: You are restricted to your residence every day from 9:00 p.m. to 6:00 a.m.,
20
     or as adjusted by the Pretrial Service office for medical, religious services, employment or court-
21
     ordered obligations. All other conditions remain in full force and effect.
22
23   IT IS SO ORDERED.

24
     Dated:        April 22, 2020                                     /s/   Sheila K. Oberto         .
25                                                       UNITED STATES MAGISTRATE JUDGE
26
27
28

      Cabrera: Stipulation and [Proposed]              -2-
      Order to Modify Pretrial Condition
